     Case 15-16993               Doc 21   Filed 08/11/15 Entered 08/13/15 23:52:32      Desc Imaged
                                          Certificate of Notice Page 1 of 3
B18 (Official Form 18) (12/07)

                                     United States Bankruptcy Court
                                             Northern District of Illinois
                                                  Case No. 15−16993
                                                      Chapter 7

In re: Debtor (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade,
and address):
   Lucas A Bala
   aka Lukasz Bala, fdba Bala &
   Associates, Inc., ...
   8413 S Melvina Ave
   Burbank, IL 60459
Social Security / Individual Taxpayer ID No.:
   xxx−xx−7490
Employer Tax ID / Other nos.:



                                           DISCHARGE OF DEBTOR

      It appearing that the debtor is entitled to a discharge, IT IS ORDERED: The debtor is
granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).




                                                           FOR THE COURT


Dated: August 11, 2015                                     Jeffrey P. Allsteadt, Clerk
                                                           United States Bankruptcy Court




                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                         Certificate of Notice Page 2 of 3
B18 (Official Form 18) (12/07) − Cont.


                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

      This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it
does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor.[In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts; and

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                                Certificate of Notice Page 3 of 3
                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 15-16993-DRC
Lucas A Bala                                                                                               Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: admin                        Page 1 of 1                          Date Rcvd: Aug 11, 2015
                                      Form ID: b18                       Total Noticed: 21


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 13, 2015.
db             +Lucas A Bala,    8413 S Melvina Ave,    Burbank, IL 60459-2435
23284974       +ALPINE CAPITAL INV,    c/o The Albert Law Firm,     29 N Wacker, Ste 550,    Chicago, IL 60606-2851
23284976       +Archer Bank,    4970 South Archer,    Chicago, IL 60632-3623
23284978       +Cbna,    Po Box 6282,    Sioux Falls, SD 57117-6282
23284986       +Mcsi Inc,    Po Box 327,    Palos Heights, IL 60463-0327
23284987       +Mid Amer Fsl,    1001 S Washington St,     Naperville, IL 60540-7400
23284988       +Pnc Bank, N.a.,    1 Financial Pkwy,    Kalamazoo, MI 49009-8002
23284989       +Ridgestone Bank,    10 N Martingale Rd #100,     Schaumburg, IL 60173-2293
23453355       +Ridgestone Bank,    c/o Edmond M. Burke,     30 S. Wacker Drive, Suite 2600,
                 Chicago, IL 60606-7512
23284990       +Teresa Bala,    11105 Boeger Ct,    Westchester, IL 60154-4111
23284991       +Verizon,    500 Technology Dr,    Ste 550,    Weldon Spring, MO 63304-2225

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
23284975       +EDI: AGFINANCE.COM Aug 12 2015 00:58:00      American General Financial/Springleaf Fi,
                 Springleaf Financial/Attn: Bankruptcy De,    Po Box 3251,   Evansville, IN 47731-3251
23284977       +EDI: CAPITALONE.COM Aug 12 2015 00:58:00      Capital One,   Attn: Bankruptcy,    Po Box 30285,
                 Salt Lake City, UT 84130-0285
23284979       +EDI: CHASE.COM Aug 12 2015 00:58:00      Chase Card,   Po Box 15298,    Wilmington, DE 19850-5298
23284981       +E-mail/Text: mmeyers@blittandgaines.com Aug 12 2015 01:31:11      Citibank,    c/o Blitt & Ganes,
                 661 Glenn Ave,   Wheeling, IL 60090-6017
23284980       +EDI: CITICORP.COM Aug 12 2015 00:58:00      Citibank,   PO Box 6241,
                 Sioux Falls, SD 57117-6241
23284982       +EDI: CMIGROUP.COM Aug 12 2015 01:03:00      Credit Management Lp,    4200 International Pkwy,
                 Carrollton, TX 75007-1912
23576297       +E-mail/Text: bankruptcynotices@devry.edu Aug 12 2015 01:30:26      Devry Education Group,
                 814 Commerce Drive,   Oak Brook, IL 60523-1965
23284983       +E-mail/Text: bankruptcynotices@devry.edu Aug 12 2015 01:30:26      Devry Inc,
                 814 Commerce Dr Ste 100,    Oak Brook, IL 60523-8822
23284984       +E-mail/Text: collectionbankruptcies.bancorp@53.com Aug 12 2015 01:30:48       Fifth Third Bank,
                 Fifth Third Bank Bankruptcy Department,,    1830 E Paris Ave Se,    Grand Rapids, MI 49546-6253
23284985       +EDI: HFC.COM Aug 12 2015 00:58:00      Hsbc/rs,   Attn: Bankruptcy Department,    Po Box 5263,
                 Carol Stream, IL 60197-5263
                                                                                              TOTAL: 10

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
23312789          CITIMORTGAGE, INC.
                                                                                                                    TOTALS: 1, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Aug 13, 2015                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on August 11, 2015 at the address(es) listed below:
              David H Cutler   on behalf of Debtor Lucas A Bala cutlerfilings@gmail.com
              Miriam R Stein   mstein@chuhak.com,
               dgeorge@chuhak.com;mstein@ecf.epiqsystems.com;IL82@ecfcbis.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Timothy R Yueill   on behalf of Creditor   CITIMORTGAGE, INC. timothyy@nevellaw.com
                                                                                            TOTAL: 4
